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April 3, 2024

The Honorable Tanya S. Chutkan
United States District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington D.C. 20001

Re: Antony Vo’s Letter of Support


Dear Honorable Tanya Chutkan,

I am writing to you today in support of my dear friend Antony Vo. As someone who has known
Antony for seven years, I can attest to his unwavering integrity, positive attitude, and genuine
kindness towards everyone he encounters.

One of Antony’s most admirable qualities is his ability to maintain a positive outlook even in the
face of adversity. Despite the challenges he is currently facing, he continues to radiate positivity
and kindness, uplifting those around him with his infectious optimism and smile. I have seen
firsthand how he goes out of his way to help those in need, regardless of whether he knows them
personally or not. His selflessness and compassion are truly remarkable, and it is disheartening to
see his character being misconstrued by the system.

In my interactions with Antony, I have always been struck by his genuine love and care for others.
He treats everyone with respect and empathy, regardless of their background or circumstances.
His ability to connect with people on a deep level and offer support and encouragement is a
testament to his exceptional character.

I urge Your Honor to carefully consider Antony's case and to weigh the evidence with fairness and
impartiality. I implore you to err on the side of justice, compassion and mercy.

Thank you for taking the time to read this letter and for considering my perspective.

Sincerely,




Markeus G. Farrand
